17-23079-rdd        Doc 19      Filed 08/10/17        Entered 08/10/17 13:10:56              Main Document
                                                     Pg 1 of 4



    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------x
    In re:

    RICHARD FRANCESE                                                          Case No.17-23079 (RDD)
                                                                              Chapter 13
                                        Debtor.
    ------------------------------------------------------------------x

                                   LOSS-MITIGATION ORDER

A Loss Mitigation Request1 was filed by the

        X Debtor on July 26, 2017;
        □ Creditor on [Date] _____________, 20__;
        □ The Court raised the possibility of Loss Mitigation on [Date] __________, 20__.

Pursuant to the Loss Mitigation Program Procedures, the parties have had notice and an
opportunity to object. Upon the foregoing, it is hereby


        ORDERED, that the following parties (collectively, the “Loss Mitigation Parties”) are
directed to participate in Loss Mitigation on Loan ending in xxxx5865

        1. The Debtor, Richard Francese and

        2. The Creditor, Federal National Mortgage Association c/o Bayview Loan Servicing,
        LLC with respect to 96 Gilbert Avenue, Pearl River, NY 10965

     ORDERED, that the Loss Mitigation Parties shall comply with the Southern District of
New York Loss Mitigation Program Procedures; and it is further

        ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:

        1. Within 7 days of the entry of this Order:

                 o Service of this Order: The Loss Mitigation Party seeking Loss Mitigation
                   shall serve this Order upon the other Loss Mitigation Parties and any


1
 Unless otherwise provided herein, all capitalized terms are defined in the Southern District of New York’s Loss
Mitigation Program Procedures.
                                                                                                         Page 1 of 4
17-23079-rdd        Doc 19      Filed 08/10/17        Entered 08/10/17 13:10:56              Main Document
                                                     Pg 2 of 4



                      additional parties that were served with the Loss Mitigation Request. Upon
                      service of this Order, an affidavit of service shall be filed with the Court.

        2. Within 7 days of the service of the Loss Mitigation Order:

                 o Designation of Contact Persons: Each Loss Mitigation Party shall designate
                   contact persons and disclose contact information, unless this information has
                   been previously provided. As part of this obligation, the Creditor shall furnish
                   each Loss Mitigation Party with written notice of the name, address and direct
                   telephone number of the person who has full settlement authority on the loan
                   in question as well as the attorney or law firm representing the Creditor in the
                   Loss Mitigation; and

                 o Creditor Loss Mitigation Affidavit: The Creditor shall serve upon the
                   Debtor and Debtor’s attorney a request for information using the “Creditor
                   Loss Mitigation Affidavit”2 form and shall file the “Creditor Loss Mitigation
                   Affidavit” form and proof of service of same on the Court’s Electronic Case
                   Filing System (ECF). The Creditor may designate its contact and attorney in
                   the “Creditor Loss Mitigation Affidavit.”

        3. Within 14 days of the service of the Creditor Loss Mitigation Affidavit:

                 o Debtor Loss Mitigation Affidavit: The Debtor shall serve upon the Creditor
                   all documents requested in a response to Creditor’s request for information
                   using the “Debtor Loss Mitigation Affidavit” and Debtor shall file proof of
                   service of said documents using the “Debtor Loss Mitigation Affidavit” on
                   ECF. All documents shall be sent in one complete package and served upon
                   the Creditor’s designated contact person and the Creditor’s attorney.

        4. Within 21 days of the service of the Debtor Loss Mitigation Affidavit:

                 o Conference Call: The Loss Mitigation Parties and their attorneys shall
                   participate in a conference call to discuss the status of Loss Mitigation.

                 o Second Creditor Loss Mitigation Affidavit (if any): The Creditor shall file
                   on ECF and serve upon the Debtor and Debtor’s counsel a second “Creditor
                   Loss Mitigation Affidavit” setting forth any additional financial documents
                   required from the debtor(s), including, if applicable, a detailed description of
                   any inconsistencies found by the Creditor in the Debtor’s documents that
                   requires further clarification and the clarification required, together with an
                   affidavit of service for same. Failure to timely file the “Creditor Loss

2
 Italicized words in quotations indicate that there is a form by the same name on the Bankruptcy Court’s website.
These forms shall be used whenever applicable.
                                                                                                         Page 2 of 4
17-23079-rdd    Doc 19     Filed 08/10/17     Entered 08/10/17 13:10:56         Main Document
                                             Pg 3 of 4



                  Mitigation Affidavit” requesting additional documents or explanations of
                  inconsistences, if any, may result in the Creditor waiving its right to obtain
                  addition financial information from the Debtor and said Creditor may be
                  required to accept the Debtor’s representations regarding income or other
                  financial matters;

      5. Within 14 days of the service of the Second Creditor Loss Mitigation Affidavit:

               o Second Debtor Loss Mitigation Affidavit (if any): The Debtor shall provide
                 any requested information to the Creditor and file on ECF a second “Debtor
                 Loss Mitigation Affidavit” demonstrating service of same upon the Creditor.

      6. Within 60 days of the service of the Loss Mitigation Order:

               o Second Conference Call: The Loss Mitigation Parties and their attorneys
                 shall participate in a second conference call if any documents remain
                 outstanding.

               o Status Report: The Loss Mitigation Parties shall file a status report in the
                 form of a letter evidencing compliance with this Order and updating the Court
                 on the status of the Loss Mitigation and summarizing the conference call.

      7. Within 75 days of service of the Loss Mitigation Order:

               o Status Conference: The first status conference shall be held in this case on
                 November 29, 2017 at 10:00 AM at the United States Bankruptcy Court
                 located at 300 Quarropas St., White Plains, NY 10601 (the “Initial Status
                 Conference”). The Loss Mitigation Parties shall appear at the Status
                 Conference and provide the Court with a verbal Status Report. The Initial
                 Status Conference cannot be adjourned without permission of the Court
                 and consent of the other Loss Mitigation Parties.

                     If the Debtor has failed to provide any and all of the requested documents
                      prior to the Initial Status Conference, the Debtor shall appear at the Initial
                      Status Conference with said documents or be prepared to testify as to why
                      the Debtor has failed to provide them.

                     Should Debtor fail to provide to the Creditor all requested documentation
                      as required by the Creditor’s First and/or Second Loss Mitigation
                      Affidavits by the Initial Status Conference, the Creditor may seek
                      termination of Loss Mitigation at the Initial Status Conference, provided
                      that the Creditor files a “Request to Terminate Loss Mitigation” at least
                      seven (7) days prior to the Initial Status Conference in accordance with the
                      Loss Mitigation Program Procedures.
                                                                                          Page 3 of 4
17-23079-rdd        Doc 19    Filed 08/10/17    Entered 08/10/17 13:10:56        Main Document
                                               Pg 4 of 4



                        At the Initial Status Conference, the Court may consider a Settlement
                         reached by the Loss Mitigation Parties, or may adjourn the Initial Status
                         Conference, as necessary.

       8. Within 30 days of the Initial Status Conference:

               o Creditor Status Report: The Creditor shall file a status report indicating
                 whether or not the Debtor is entitled to a loan modification. If a modification
                 is offered, this status report shall set forth the terms and conditions thereof. If
                 no determination has been made upon this loan, the status report shall include
                 the name and phone number of the underwriter reviewing the file and the
                 exact level of review of the loan. Failure to do so may result in the Court
                 scheduling a date for Creditor, by a representative of same with full settlement
                 and negotiation authority, to appear before it to explain why it has not
                 provided to the Debtor with such information.

                            Appearance of Bank Representative: Should a representative of the
                             Creditor be required to appear at any time during the Loss Mitigation,
                             the Creditor shall file a letter designating the agent appearing before
                             the Court upon ECF.
And it is further

        ORDERED, that any matters that are currently pending between the Loss Mitigation
Parties may be adjourned by the Court to the date of the Initial Status Conference to the extent
those matters concern (1) relief from the automatic stay, (2) objection to the allowance of a proof
of claim, (3) reduction, reclassification or avoidance of a lien, (4) valuation of a Loan or
Property, (5) objection to confirmation of a plan of reorganization; or (6) any other matter so
scheduled by the Court.

        ORDERED that in a chapter 7 case, the entry of this Order automatically defers the entry
 of an order granting the Debtor’s discharge until one day after an “Order Terminating Loss
 Mitigation and Final Report” is filed pursuant to Federal Rule of Bankruptcy Procedure
 4004(c)(2). The time to object to the Debtor’s discharge or the dischargeability of a debt is
 NOT extended by this Order; and it is further

        ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this case to
file an objection to a plan of reorganization shall be extended until 14 days after the filing of an
“Order Terminating Loss Mitigation and Final Report.”

Dated: White Plains, New York
       August 10, 2017
                                                      /s/ Robert D. Drain          _
                                                      United States Bankruptcy Judge

                                                                                          Page 4 of 4
